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                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



 IN RE: NATIONAL PRESCRIPTION Case No. 1:17-CV-2804
 OPIATE LITIGATION
                              Hon. Dan A. Polster
 APPLIES TO ALL CASES


                             CASE MANAGEMENT ORDER ONE

               The parties in this case have been pursuing, and are continuing to pursue, settlement

discussions, and they have made good progress. The parties have indicated, however, they believe

settlement will be made more likely if, in addition to the “settlement track” they are currently

pursuing, the Court also creates a “litigation track.” Accordingly, the Court hereby enters this

Case Management Plan, which directs the parties to engage in motion practice, discovery, and trial

preparation for certain cases in this MDL.

       1.      APPLICABILITY AND SCOPE OF ORDER

               a.      Scope.    This CMO is intended to conserve judicial resources, reduce

duplicative service, avoid duplicative discovery, serve the convenience of the parties and

witnesses, and promote the just and efficient conduct of this litigation. See Fed. R. Civ. P. 1. This

Order and, unless otherwise specified, any subsequent pretrial or case management orders issued

in this MDL, shall govern the practice and procedure in: (1) those actions transferred to this Court

by the Judicial Panel on Multidistrict Litigation (“JPML”) pursuant to its order entered on

December 5, 2017, (2) any tag-along actions transferred to this Court by the JPML pursuant to

Rules 7.1 and 7.2 of the Rules of Procedure of the Panel, after the filing of the final transfer order

by the Clerk of the Court, and (3) all related actions originally filed in this Court or transferred or

removed to this Court and assigned thereto as part of In re: National Prescription Opiate
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Litigation, MDL No. 2804 (“MDL 2804”).              These cases will be referred to as the “MDL

proceedings.”

        The provisions of this Order, and any subsequent pretrial order or case management order

issued in the MDL proceedings, shall supersede any inconsistent provisions of the Local Rules for

the United States District Court, Northern District of Ohio (“Local Rules”). The coordination of

MDL Proceedings, including certain of these cases that have been or may be directly filed into this

MDL, does not constitute a waiver of any party’s rights under Lexecon v. Milberg Weiss Bershad

Hynes & Lerach, 523 U.S. 26 (1998). This CMO shall not be construed to affect the governing

law or choice-of-law rules in any case subject to the CMO.

                b.        Application to All Parties and Counsel. This Order and all subsequent

pretrial or case management orders shall be binding on all parties and their counsel in all cases

currently pending, or subsequently transferred to, removed to, or pending in the MDL proceedings,

and shall govern each case in the MDL proceedings unless the order explicitly states that it relates

only to specific cases.

                c.        Amendment and Exceptions. This Order may be amended by the Court

on its own motion, and any party may apply at any time to this Court for a modification or

exception to this Order. The Court expects it will issue subsequent case management orders

addressing the cases mentioned in this CMO and other MDL proceedings.

        2.      MOTIONS TO DISMISS

                a.        The parties and Court agree that it will be efficient and informative to

proceed with briefing on threshold legal issues on common claims. Accordingly, the Court sets

out below a process for choosing certain cases to brief these threshold legal issues, where these

cases: (1) are filed in a representative variety of jurisdictions, (2) by a representative variety of



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Plaintiffs, (3) against a representative variety of Defendants, and (4) which raise a representative

variety of issues.

                b.     Cases filed by local governmental entities in Ohio and Illinois. No

later than Wednesday, April 25, 2018, and subject to paragraph 2.j, Plaintiffs in the following

cases shall amend their Complaints or provide notice that the Complaint will not be amended,

and Defendants may file motions to dismiss in any or all of these cases within 28 days

thereafter: (1) The County of Summit, Ohio. v. Purdue Pharma L.P., Case No. 18-OP-45090

(N.D. Ohio); and (2) The City of Chicago, Illinois v. Purdue Pharma L.P., Case No. 17-OP-

45169 (N.D. Ohio).

                c.     Cases filed by local governmental entities in West Virginia, Michigan,

and Florida. No later than Wednesday, April 25, 2018, and subject to paragraph 2.j,

Plaintiffs in the following cases shall amend their Complaints or provide notice that the

Complaint will not be amended, and Defendants may file motions to dismiss in any or all of

these cases within 42 days thereafter: (1) Cabell County Commission, West Virginia v.

AmerisourceBergen Drug Corp., Case No. 17-OP-45053 (N.D. Ohio); (2) County of Monroe,

Michigan v. Purdue Pharma L.P., Case No. 18-OP-4515 (N.D. Ohio); and (3) Broward County,

Florida v. Purdue Pharma L.P., Case No. 18-OP-45332 (N.D. Ohio).

                d.     Cases filed by Sovereigns – Alabama and Indian Tribes. No later

than Wednesday, May 9, 2018, and subject to paragraph 2.j, Plaintiff in the following case shall

amend the Complaint or provide notice that the Complaint will not be amended, and Defendants

may file motions to dismiss within 42 days thereafter: The State of Alabama v. Purdue Pharma

L.P., Case No. 18-OP-45236 (N.D. Ohio). In addition, the Court will issue a supplemental case

management order addressing the Indian Tribes cases.



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               e.     Cases filed by Hospitals and Third-Party Payors. No later than

Friday, May 11, 2018, the Hospital Representative of the Plaintiffs’ Executive Committee

(“PEC”) shall identify for the parties and the Court a single MDL case filed by a hospital, the

claims of which are governed by the law of one of the States listed in paragraphs 2.b and 2.c.

Furthermore, no later than Friday, May 11, 2018, Defendants shall notify the parties and the

Court that they have identified a single MDL case filed by a third-party payor, the claims of

which are governed by the law of one of the States listed in paragraphs 2.b and 2.c. The Court

will issue a subsequent case management order setting deadlines in these cases.

               f.     Plaintiffs may respond to the motions in each of the above actions within

28 days after the motions are filed, and Defendants may file replies within 21 days thereafter.

State Attorneys General may file amicus briefs in response to any motions to dismiss filed in State

of Alabama v. Purdue Pharma L.P.

               g.     The parties shall endeavor to coordinate and consolidate briefing on all of

the motions to dismiss and avoid duplicative briefing by incorporating similar arguments by

reference. For example: (1) manufacturer Defendants shall endeavor to file a single motion to

dismiss in each case, addressing issues common to all manufacturers; (2) distributor Defendants

shall endeavor to file a single motion to dismiss in each case, addressing issues common to all

distributors; (3) manufacturer and distributor Defendants shall endeavor to present common issues

together; (4) the parties shall not repeat arguments in subsequent cases or briefs; (5) Defendants

shall raise only those issues they believe are most critical and most relevant to the settlement

process; and so on.

               h.     The Court will strictly enforce provisions regarding length of memoranda

filed in support of motions; and the Court will apply limitations applicable to complex cases. See



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Local Rule 7.1. Motions for relief from the length restrictions must show good cause for such

relief and must be made sufficiently in advance to permit the Court to rule and the Clerk’s Office

to issue the ruling by regular mail. Motions for relief from length restrictions which are filed

contemporaneously with the memorandum exceeding the page limits will be denied. In no event

shall the request to exceed page limitations extend the time for filing of the underlying

memorandum.

                     i.        Chambers will not accept courtesy copies of motions or briefs unless

expressly requested by the Court. Exception: motions or briefs filed within two (2) business days

of a conference/hearing/trial shall be emailed to the Court as well as opposing counsel on the same

day    it       is        filed.       The    Court’s       email   address   for    these    filings   is

Polster_Chambers@ohnd.uscourts.gov. Also, counsel shall provide to Special Master Cohen: (1)

three-hole-punched, two-side-printed, written copies of all papers related to the motions to dismiss;

and (2) thumb-drives containing as-filed PDFs of all papers related to the motions to dismiss, and

also PDFs of all cases cited.

                     j.        Defendants do not waive and shall be deemed to have preserved any

defenses not addressed in the initial motions filed pursuant to the foregoing provisions, including

but not limited to insufficient service of process and lack of personal jurisdiction. Further, nothing

in this Order is intended to waive any Defendant’s right to file an individual motion to dismiss in

any or all of the above-listed cases in the future on any grounds, including lack of personal

jurisdiction.

                     k.        Nothing in this Order is intended to waive any Plaintiff’s right to move to

file further amended pleadings in the above-listed cases if deemed appropriate. Defendants reserve

all rights related to any such motion or filings.



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        3.      CASE TRACKS

                a.      Track One. The following three cases are included in Track One: (1) The

County of Summit, Ohio. v. Purdue Pharma L.P., Case No. 18-OP-45090 (N.D. Ohio); (2) The

County of Cuyahoga v. Purdue Pharma L.P., Case No. 17-OP-45004 (N.D. Ohio); and (3) City

of Cleveland v. AmerisourceBergen Drug Corp., Case No. 18-OP-45132 (N.D. Ohio).

                b.      Amendments to Track One Complaints. No later than Wednesday,

April 25, 2018, Plaintiffs in Track One Cases shall amend their Complaints or provide notice that

the Complaint will not be amended at this time.

                c.      Written Discovery in Track One. Subject to the parameters in paragraph

9 below, written discovery in Track One Cases shall commence upon entry of this Order.

                d.      Insurance Information in Track One Cases. Pursuant to Fed. R. Civ. P.

26(a)(1)(A)(iv), the parties shall produce any insurance agreements under which an insurance

business may be liable to satisfy all or part of a possible judgment in the Track One Cases, or to

indemnify or reimburse for payments made to satisfy any judgment. This includes agreements

insuring against general liability, product liability, druggist liability, directors and officers liability,

and any other applicable agreements. The parties shall also produce charts that depict the insurance

coverage that is or may be applicable to the claims in the Track One Cases. The insurance

agreements and coverage charts shall be produced within 30 days of the issuance of the

protective order referred to in paragraph 9.d. The protective order shall include a provision that

permits the parties’ insurance companies to have access to, and communicate concerning, the

materials produced in the Track One Cases.




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               e.      Depositions in Track One Cases. Depositions of parties will proceed in

the Track One Cases as set forth below.

                        i.     The parties will meet and confer and submit a proposal, no later

than Monday, May 21, 2018, regarding numerical limits on fact witness depositions.

                        ii.    Beginning on June 4, 2018, the parties may begin noticing fact

witness depositions, which shall be completed by August 31, 2018.

               f.      Close of Fact Discovery in Track One Cases. Fact discovery in the Track

One Cases shall be completed by August 31, 2018.

               g.      Expert Discovery in Track One Cases.

                        i.     By September 7, 2018, Plaintiffs shall serve expert reports in the

Track One Cases and, for each expert, provide two proposed deposition dates between September

17 and October 5, 2018.

                        ii.    By October 12, 2018, Defendants shall serve expert reports in the

Track One Cases and, for each expert, provide two proposed deposition dates between October

22 and November 9, 2018.

               h.      Schedule for Daubert and Dispositive Motions in Track One Cases.

 November 16, 2018                Deadline for Daubert and dispositive motions in Track One
                                  trial cases.

 December 14, 2018                Deadline for responses to Daubert and dispositive motions.

 January 7, 2019                  Deadline for replies in support of Daubert and dispositive
                                  motions.

 Week of January 14, 2019         Hearing on Daubert and dispositive motions, or as otherwise
                                  set by the Court, if necessary.

               i.      Initial Trial Setting. The Court’s current intention is to consolidate all

three Track One Cases for trial, and to try all then-surviving claims against all then-surviving


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Defendants. The Court intends to begin the trial at 9:00 a.m. Eastern Time on Monday,

March 18, 2019, to last for a period of three weeks. The parties shall meet and confer and

submit to the Court, no later than Friday, January 25, 2019, joint or competing proposals

addressing issues relating to the structure of the first trial and deadlines for other pretrial

submissions and additional activities through trial. The Court may accept or modify completely

the parties’ proposals.

                j.        Additional Case Tracks. The parties and the Special Masters shall confer

by August 17, 2018, to adopt a process and schedule for additional case tracks, which shall involve

cases from the state and tribal jurisdictions identified in paragraph 2. These additional cases need

not necessarily be the cases listed in paragraph 2. The parties and the Special Masters shall confer

regularly as the Track One cases progress, to determine whether any modifications to this CMO

are necessary, including whether any other cases should be set for discovery.

        4.      ELECTRONIC FILING PROCEDURES

        The parties are expected to follow the Northern District of Ohio’s policies and procedures

on Electronic Case Filing. All counsel of record are hereby directed to take steps as necessary to

be registered as electronic filers in the master docket, No. 1:17-MD-2804. All filings discussed in

this CMO shall be filed electronically in the master MDL docket. Any document that pertains to

one or multiple specific cases shall be electronically filed in each case docket and in the master

MDL docket. Electronic case filing of a document, other than an initial pleading, in the master

docket shall be deemed to constitute proper service on all parties. Discovery and other documents

not filed with the Court shall be served by electronic mail on the appropriate Lead and Liaison

Counsel and other appropriate counsel as set forth below in paragraph 9.c.




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       5.      COMMUNICATIONS WITH THE COURT

       Unless otherwise ordered by the Court, all substantive communications with the Court shall

be filed. Excepted from this rule is correspondence with the Special Masters and discovery

disputes, which are governed by paragraph 9.o below.

       6.      PLEADINGS AND MOTIONS

               a.      Direct Filing. In order to eliminate delays associated with transfer to this

Court of cases filed in or removed to other federal district courts, any Plaintiff whose case would

be subject to transfer to these MDL proceedings may file its case directly in this District. Direct

filing shall not constitute a waiver of any party’s contention that jurisdiction or venue is improper

or that the action should be dismissed or transferred. Direct filing shall not impact the choice of

law to be applied in the case.

       At the conclusion of pretrial proceedings, should the parties agree that a case filed directly

in the MDL proceedings should be transferred and the district to which it should be transferred,

the parties will jointly advise the Court of the district to which the case should be transferred at the

appropriate time. Should the parties disagree as to the district to which a case should be

transferred, nothing in this Order precludes any party from filing a motion to transfer pursuant to

28 U.S.C. §1404(a) or §1406 at the conclusion of pretrial proceedings.

               b.      Amendment of Pleadings and Addition of Parties. In cases other than

those mentioned in paragraphs 2 and 3, Plaintiffs shall file any amended pleading, including any

amendment to add a party to a case, no later than Friday, May 25, 2018. After that date, no

complaint shall be amended by Plaintiffs to add a party or otherwise, absent leave of Court or

stipulation of the parties. The deadline for Defendants to add a party without leave of Court shall

be 45 days before the close of fact discovery applicable to a particular case.



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               c.      Service of Summons and Complaint. Defendants are encouraged to

avoid unnecessary expenses associated with serving the summons and, absent good cause, shall

grant requests to waive service pursuant to Fed. R. Civ. P. 4(d)(1).

               d.      Plaintiffs shall not name as a Defendant, nor seek to serve, any entity as to

which Plaintiffs lack a good faith basis to assert that the entity is subject to personal jurisdiction

in this Court. Notwithstanding the foregoing, waiving service of a summons does not waive any

objection to personal jurisdiction or to venue. Fed. R. Civ. P. 4(d)(5). No later than

Wednesday, April 25, 2018, each Defendant shall file a notice in the master docket that attaches

a proper form of a waiver request and a designated person to electronically accept the same.

Such waiver requests shall be timely executed and returned to the requesting party for filing with

the Court. The Court previously tolled the deadline to achieve service of the summons and

complaints through May 18, 2018. The Court expects the Plaintiffs in all filed cases as of the

date of this Order to effectuate service by Wednesday, July 18, 2018. Service on a foreign

corporation is suspended until further order of the Court.

               e.      Voluntary Dismissal. At this point, with the parties actively engaged in

working towards global resolution, including through a litigation track, dismissal without

prejudice of Trial Track cases or cases designated for motion to dismiss briefing has a potentially

detrimental effect on the Court, the parties, and the MDL process. Accordingly, because the

timeframe for responsive pleading has been extended beyond that ordinarily contemplated by Fed.

R. Civ. P. 41(a)(1)(A)(i), and notwithstanding the fact that Defendants may not yet have answered,

any voluntary dismissals pending in this MDL as of the date of this Order or filed hereafter that

would result in the dismissal of any such action against all named Defendants shall require leave

of Court.



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                 f.     General Motions and Briefing Requirements.             Except as otherwise

provided herein, all motions and briefs shall conform to Local Rule 7.1. All motions on behalf of

Plaintiffs or PEC or Plaintiffs’ Steering Committee must be signed by Plaintiffs’ Lead Counsel.

All motions on behalf of all Defendants or a Defendants’ Steering Committee must be signed by

Lead Counsel for each moving Defendant.

                 g.     Motions. No party may file any motion not expressly authorized by this

Order absent further Order of this Court or express agreement of the parties. However, nothing

in this Order limits the right of a State Attorney General to seek remand of any case brought by

the Attorney General that is removed to the MDL. The Court shall decide any such motion on the

merits.

          7.     COORDINATION WITH STATE COURT PROCEEDINGS

          The Court acknowledges it has no jurisdiction over related State court proceedings. To

achieve the full benefits and efficiencies of the MDL proceedings, however, this Court intends to

coordinate with State courts presiding over related cases to the greatest extent possible, in order to

avoid unnecessary duplication and inconsistency. This includes efforts at coordination of written

discovery and deposition protocols and cross-noticing of depositions. The Court appoints Special

Master Yanni to oversee these efforts.

          8.     PRESERVATION

                 a.     All parties and their counsel are reminded of their duty, consistent with the

Federal Rules of Civil Procedure, to take reasonable measures to preserve documents,

electronically stored information (“ESI”), and things that are potentially relevant.

                 b.     The parties will meet and confer regarding a procedure for directing third-

party records custodians to preserve records.



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       9.      PRELIMINARY DISCOVERY PLAN AND PROCEDURES

               a.      Discovery Under the Plan. No party may conduct any discovery of

another party in this MDL proceeding not expressly authorized by this Order absent further Order

of this Court or express agreement of the parties.

               b.      Waiver of Initial Disclosures. For all cases in the MDL proceedings, the

parties are relieved from complying with the requirements of Fed. R. Civ. P. 26(a)(1) unless

otherwise directed by the Court.

               c.      Service of Discovery. Unless otherwise directed by this Court, the parties

shall serve all papers that are not to be filed with the Court, including, but not limited to, discovery

requests or responses, deposition notices, and certificates of service thereof, by electronic mail on

Plaintiffs’ Liaison Counsel and Defendant’s Liaison Counsel. Such papers are not to be filed with

the Clerk, nor are courtesy copies to be delivered to the Court, except when specifically ordered

by the Court or to the extent needed in connection with a motion, and only in accordance with the

protective order governing the MDL proceedings. Where a paper is applicable to all cases or

substantially all cases, or such categories of cases as may be defined in subsequent Orders,

Plaintiffs’ Liaison Counsel also shall electronically serve such paper on counsel of record for the

individual Plaintiff(s) to whom the paper is applicable. Where a paper to be served by a Defendant

is applicable to a particular case, Defendants’ Liaison Counsel shall electronically serve such paper

on the counsel of record for the individual Plaintiff(s) in that case as well as Plaintiffs’ Liaison

Counsel.

               All discovery directed to Defendants and non-party witnesses on behalf of Plaintiffs

shall be undertaken by, or under the direction of, the PEC on behalf of all Plaintiffs with cases in

these MDL proceedings.



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                d.        Protective Order.    Disclosure and discovery in this proceeding may

involve production of confidential, proprietary, and private information for which special

protection from public disclosure and from any purpose other than prosecuting this litigation would

be warranted, including insurance information discussed in paragraph 3.d. The parties will meet

and confer and submit to the Court, no later than Monday, April 30, 2018, a proposed Protective

Order, binding on all parties and counsel, to ensure the protection of confidential information,

including any HIPAA-protected information.

                e.        Format of Production. The parties will meet and confer and submit to the

Court, no later than Monday, April 30, 2018, a proposed Document Production Protocol

governing the format of production of documents.

                f.        Deposition Protocol. The parties will meet and confer and submit to the

Court, no later than Monday, May 21, 2019, a protocol governing depositions, including with

respect to the scheduling, noticing, taking, and recording of depositions, and procedures to ensure

that, absent agreement or court order, a witness will not be deposed more than once across any

state or federal cases.

                g.        Assertion of Privilege.        Any party that withholds the production of

requested documents or materials on the ground of any privilege or application of the work-product

doctrine must provide a Privilege Log. Each Privilege Log shall describe each document or thing

for which a privilege or the work product doctrine is asserted in sufficient detail to reasonably

permit the party seeking discovery to assess whether to dispute any such assertion. This will

include but is not limited to information regarding the document’s subject, date, author, and all

recipients, the specific privilege asserted, and the factual basis for the privilege. Each party

withholding materials shall provide opposing counsel a copy of the Privilege Log within 45 days



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after the production, absent agreement of the parties. If a partial production is made, the party

shall produce a privilege log relating to such partial production. The parties will raise privilege

issues with Magistrate Judge Ruiz, in accord with the procedures set out in paragraph 9.0, as soon

as reasonably possible.

               h.      Ex Parte Communications with Treating or Prescribing Healthcare

Providers. Absent further order of the Court, contact with a non-party treating or prescribing

healthcare provider for any patient whose medical care or treatment is the basis of any Plaintiff’s

claims shall be governed by the relevant procedural rules in the jurisdiction in which the healthcare

provider resides.   The parties reserve the right to seek a further order governing ex parte

communications with such non-party healthcare providers.

               i.      Fact Sheets. The parties shall meet and confer and submit to the Court, no

later than Monday, April 30, 2018, a proposed Order regarding Plaintiff Fact Sheets and

Defendant Fact Sheets. The fact sheets shall apply to each case within MDL 2804, and in all other

cases that become part of this MDL by virtue of being filed in, removed to, or transferred to this

Court. The parties may agree to an exception regarding whether they will produce Fact Sheets, or

their content, with regard to Track One Cases.

               j.      Joint Records Collection. The parties are directed to confer and reach an

agreement regarding the selection of one or more Joint Custodian(s) to collect and retain certain

medical or other records from any third-party designated as a record custodian by either Plaintiffs

or Defendants and present to the Court a protocol and Stipulated Joint Records Collection Order

no later than Monday, April 30, 2018.




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              k.      Prior Document Disclosures.

                       i.      Upon entry of this Order, all documents, including ESI, that were

previously produced by any Defendant in City of Chicago v. Purdue Pharma L.P., Case No. 14-

CV-04361 (N.D. Ill.), shall be deemed produced to all Plaintiffs in MDL 2804 and shall be

made immediately available to the PEC by any parties or counsel in possession of same, at no

cost to the party or counsel in possession.

                       ii.     No later than Monday, June 11, 2018, all Defendants shall

review documents previously produced pursuant to any civil investigation, litigation, and/or

administrative action by federal (including Congressional), state, or local government entities

involving the marketing or distribution of opioids and shall produce to the PEC non-privileged

documents relevant to the claims in this MDL proceeding. Defendants shall engage in rolling

production of previously-produced documents during this 61-day period, and shall engage in

rolling production of privilege logs and lodging of objections.

                       iii.    After Defendants complete the foregoing document productions,

to the extent the PEC believes there are other documents that were produced by a Defendant in

another proceeding that are discoverable in this proceeding, the PEC shall notify the Defendant

and identify the specific document(s) and basis for requesting production, and the parties shall

meet and confer to attempt to resolve the issue. To the extent the parties are unable to resolve

the issue, the PEC shall bear the burden to demonstrate to the Court that the document(s) should

be produced in this proceeding.

                       iv.     Unless and until other arrangements are made by this Court

regarding these specific materials, and in the interests of expediting discovery, Plaintiffs in

MDL 2804 will be subject to any pre-existing Protective Orders or confidentiality agreements



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governing this material. As such, at this time, review by Plaintiffs and their experts of

discovery that has been produced in other cases and which is deemed produced in this MDL is

subject to any Protective Orders or confidentiality agreements entered in those cases. The entry

of a Protective Order in this MDL proceeding, however, will supersede any pre-existing

Protective Order.

              l.      Written Discovery.

                       i.     Any written discovery served on a Defendant pursuant to

paragraph 3 above shall be coordinated and served by the PEC. Absent leave of Court, the PEC

may serve up to 35 Requests for Production and up to 35 Interrogatories on each Defendant

Family in cases in Track One and subsequent Case Tracks identified pursuant to paragraph

3. For purposes of this requirement, a “Defendant Family” shall consist of all corporate

affiliates that are named as a Defendant in any action that is part of this MDL. For illustration

purposes only, Purdue Pharma L.P., Purdue Pharma Inc., and The Purdue Frederick Company

Inc. shall be treated as a single Defendant Family.

                       ii.    Each group of Defendants named in a case (e.g., the Manufacturer

Defendants, the Distributor Defendants, and the Retail Pharmacy Defendants) may serve up to

35 Requests for Production and up to 35 Interrogatories on each Plaintiff in cases in Track One

and subsequent Case Tracks identified pursuant to paragraph 3.

                       iii.   No later than, Monday, July 16, 2018, each Plaintiff in cases in

Track One that alleges money damages based upon unnecessary prescriptions shall identify: (a)

the prescriptions that each Plaintiff asserts were medically unnecessary or medically

inappropriate, to whom they were written, and whether Plaintiff reimbursed for them; (b) the

physicians or healthcare providers who wrote the prescriptions; and (c) Plaintiff’s basis for



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identifying the prescriptions that it asserts are medically unnecessary or medically

inappropriate.

                 m.    Third-Party Discovery. The parties may conduct appropriate third-party

discovery in Track One cases, including discovery to identify the information discussed in

paragraph l.iii. Any party intending to serve third-party discovery shall comply with Fed. R. Civ.

P. 45(a)(4).

                 n.    Extension of Discovery Deadlines.          Nothing in this Order shall be

interpreted to restrict the ability of the parties to move, separately or (preferably) jointly, for an

extension of discovery deadlines as permitted by the Rules. Please note that the granting of an

extension of any discovery deadline shall not change the trial date, and the Court does not intend

to move the trial date of the Track One case(s). Should any of the deadlines set forth above become

infeasible as a result of an unexpected technical or similar matter, the responding party shall

provide advance notice and an estimated date for the response. If, after meeting and conferring in

good faith, the receiving party objects to any modified date, it may seek a conference with the

Court.

                 o.    Discovery Dispute Resolution. Counsel shall comply with Local Rule

37.1. Specifically, the parties shall resolve discovery disputes by following these steps: (1) good

faith resolution efforts by counsel; (2) telephone conference-call to Judge Polster’s chambers, at

which time the Court will direct the parties how and when they will present their issues to either

Judge Polster or Magistrate Judge Ruiz; (3) if requested by the Court, position letters (normally

not to exceed 3 pages); and (4) if required, discovery motion pursuant to Fed. R. Civ. P. 37.

                 p.    Filing of Discovery Materials. No discovery materials shall be filed

without leave of Court, except as necessary to support dispositive motions. If a party intends to



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rely on deposition testimony in support of a motion, the Court prefers the filing of the entire

deposition in condensed form rather than excerpts, unless the party truly believes that excerpts are

sufficient. If any other party believes the excerpts offered are not sufficient, that party is free to

file the entire deposition in condensed form. In any event, discovery material submitted in support

of a party’s position shall be filed at the same time as that party’s memorandum setting forth its

position.

       10.     EXPERT REPORTS AND EXPERT MATERIALS

               a.      The designation of experts whose opinions may be submitted at trial must

be accompanied by a report that complies with Fed. R. Civ. P. 26(a)(2)(B). The report must be

provided contemporaneously with the expert designation. All parties’ experts whose opinions may

be submitted at trial shall be subject to deposition as directed in Fed. R. Civ. P. 26(b)(4)(A) prior

to the close of expert discovery.

               b.      Unless otherwise stipulated or ordered by the Court, each disclosed expert

will produce his or her final report pursuant to and consistent with Fed. R. Civ. P. 26(a)(2)(B),

together with identification of all documents that the expert has considered in preparing and/or

rendering the expert’s opinion. No other documents relating to expert reports will be produced,

provided, however, that nothing in this order is intended to bar discovery of documents that are

otherwise discoverable from a party or third party outside of the context of expert discovery.

Consistent with Fed. R. Civ. P. 26(b)(4), no party will seek discovery of any experts’ notes, drafts

of expert reports, or communications with counsel, provided, however, that counsel may serve

discovery or inquire at a deposition about any facts, data, or assumptions provided to the expert by

counsel and upon which such expert is relying in expressing the expert’s opinions. Each party also

agrees to bear its own expert costs.



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       11.     SUBSEQUENT TRIAL SETTINGS

       The parties shall meet and confer to discuss pretrial and trial schedules for subsequent trial

settings, including as to cases that may be remanded to transferor courts for trial. The parties shall

inform the Court if a proposed trial schedule would result in overlapping trial settings.

       12.     MOTIONS FOR REMAND

       In accord with paragraph 6.f, the Court will adopt a procedure, based on input from the

parties, to efficiently address the filing and briefing of motions for remand at an appropriate time

in the MDL proceedings.

       13.     REGULAR TELEPHONIC STATUS CONFERENCES

       The Court will hold regularly-scheduled telephonic status conferences, on roughly a

biweekly basis. Lead and Liaison Counsel for Plaintiffs and Defendants shall confer before each

status conference and submit a joint status report three (3) business days before the conference.

This joint report should include: (a) a list of expected participants, (b) a summary of resolution

discussions or efforts conducted since the last status conference; (c) a summary of discovery

conducted since the last status conference; (d) a summary of any pending motions; (e) updates

about related state cases; (f) any scheduling issues or other issues that the parties wish to raise with

the Court; and (g) if the parties have differing views on issues raised with the Court, a brief

statement of their respective positions on these issues. The first such status conference shall be on

Wednesday, April 18, 2018 at noon Eastern Time, and the second shall be on Wednesday, May

2, 2018 at noon Eastern Time. A call-in number will be provided.

       14.     CONDUCT

       Pursuant to the Statement on Professionalism issued by the Supreme Court of Ohio on

February 3, 1997, counsel are directed to be courteous and civil in all oral and written



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communications with each other and the Court. Submissions that do not conform to this

standard will be rejected. Nothing in this Order precludes the Court from entering sanctions

against a party or counsel if warranted.

IT IS SO ORDERED.



                                                 /s/ Dan Aaron Polster
                                                 DAN AARON POLSTER
                                                 UNITED STATES DISTRICT JUDGE



Dated: April 11, 2018




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